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  5
  6   Attorney for Plaintiff, BERNADETTE ATIENZA
  7
  8                            UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BERNADETTE ATIENZA, an individual,             CASE NO:
 12                        Plaintiff,                COMPLAINT FOR DAMAGES
 13          v.
                                                     DEMAND FOR A JURY TRIAL
 14   GLOBAL CREDIT & COLLECTION
 15   CORPORATION,

 16                        Defendant.
 17
 18
             Plaintiff BERNADETTE ATIENZA (“Plaintiff”), by and through her attorneys,
 19
      M. Harvey Rephen & Associates, P.C., as and for its Complaint against the Defendant
 20
      GLOBAL CREDIT & COLLECTION CORPORATION (hereinafter referred to as
 21
      “Defendant(s)”), respectfully sets forth, complains and alleges, upon information and
 22
      belief, the following:
 23
                                         INTRODUCTION
 24
             1.     Plaintiff brings this action on her own behalf for damages, statutory
 25
      damages, attorney fees and costs brought by an individual consumer for Defendant’s
 26
      violation(s) of §1692 et seq. of Title 15 of the United States Code, commonly referred to
 27
      as the Fair Debt Collections Practices Act (hereinafter “FDCPA”) and Rosenthal Fair
 28
      Debt Collection Practices Act, California Civil Code §1788 et seq. (hereinafter
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  1   “RFDCPA” which prohibit debt collectors from engaging in abusive, deceptive and
  2   unfair practices.
  3          2.     According to 15 U.S.C. §1692:
  4                 a.     There is abundant evidence of the use of abusive, deceptive, and
  5   unfair debt collection practices by many debt collectors. Abusive debt collection
  6   practices contribute to the number of personal bankruptcies, to marital instability, to
  7   the loss of jobs, and to invasions of individual privacy.
  8                 b.     Existing laws and procedures for redressing these injuries are
  9   inadequate to protect consumers.
 10                 c.     Means other than misrepresentation or other abusive debt
 11   collection practices are available for the effective collection of debts.
 12                 d.     Abusive debt collection practices are carried on to a substantial
 13   extent in interstate commerce and through means and instrumentalities of such
 14   commerce. Even where abusive debt collection practices are purely intrastate in
 15   character, they nevertheless directly affect interstate commerce.
 16                 e.     It is the purpose of this title to eliminate abusive debt collection
 17   practices by debt collectors, to insure that those debt collectors who refrain from using
 18   abusive debt collection practices are not competitively disadvantaged, and to promote
 19   consistent State action to protect consumers against debt collection abuses.
 20          3.     The California Legislature has found that: The banking and credit system
 21   and grantors of credit to consumers are dependent upon the collection of just and
 22   owing debts. Unfair or deceptive collection practices undermine the public confidence
 23   which is essential to the continued functioning of the banking and credit system and
 24   sound extensions of credit to consumers.
 25                                            PARTIES
 26          4.     Plaintiff BERNADETTE ATIENZA (hereinafter “Plaintiff”), is a natural
 27   person residing in Los Angeles County, State of California. Plaintiff is a “consumer”
 28   within the meaning of 15 U.S.C. §1692a(3) and a “debtor” within the meaning of

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  1   Cal. Civil Code §1788.2(h).
  2          5.     Defendant GLOBAL CREDIT & COLLECTION CORPORATION
  3   (hereinafter “GLOBAL CREDIT”), is a foreign corporation engaged in the business of
  4   debt collection with an office at 300 International Drive, Postal Mailbox 10015, Suite
  5   100, Williamsville, New York, 14221. The principal purpose of GLOBAL CREDIT is the
  6   collection of debts using the mails and telephone, and GLOBAL CREDIT regularly
  7   attempts to collect debts alleged to be due another. GLOBAL CREDIT is a “debt
  8   collector” within the meaning of 15 U.S.C. §1692a(6) and Cal. Civil Code §1788.2(c).
  9                                        JURISDICTION
 10          6.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331,
 11   as well as 15 U.S.C. §1692 et seq. and 28 U.S.C. §2201. If applicable, the Court also has
 12   pendent jurisdiction over the state law claims in this action pursuant to 28 U.S.C.
 13   §1367(a).
 14          7.     This action arises out of Defendants’ violations of the Fair Debt Collection
 15   Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”).
 16                                             VENUE
 17          8.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) in
 18   that a substantial part of the events or omissions giving rise to the claim occurred in
 19   this judicial district. Venue is also proper in this judicial district pursuant to 15 U.S.C.
 20   §1692k(d), in that Defendants transact business in this judicial district and the
 21   violations of the FDCPA complained of occurred in this judicial district.
 22                                  FACTUAL ALLEGATIONS
 23          9.     Plaintiff incurred a financial obligation, namely a consumer credit
 24   account. The debt was incurred primarily for personal, family or household purposes
 25   as is therefore a “debt” as that term is defined by 15 U.S.C. §1692a(5) and a “consumer
 26   debt” as that term is defined by Cal. Civil Code §1788.2(f).
 27          10.    Plaintiff is informed and believes, and thereon alleges, that sometime
 28   thereafter on date unknown to Plaintiff, the debt was consigned, placed or otherwise

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  1   transferred to Defendants for collection from Plaintiff. Upon information and belief,
  2   Defendant, on behalf of a third-party, began efforts to collect an alleged consumer debt
  3   from the Plaintiff.
  4          11.    Upon information and belief, and better known to the Defendant, the
  5   Defendant began its collection efforts and campaign of communications with the
  6   Plaintiff on December 17, 2015 by placing a telephone call and leaving a voice message
  7   on the Plaintiff's telephone number (209) 264-2153.
  8          12.    Defendant’s message was spoken by a male representative who
  9   identified himself as Raymond Chen and stated that he and Defendant GLOBAL
 10   CREDIT AND COLLECTIONS were seeking Plaintiff to collect a debt.
 11          13.    The recorded greeting at the aforementioned number where Defendants
 12   left their voice message (i.e., “You have reached the Atienza family, please leave a
 13   message”) explicitly states that the caller has reached a family telephone which is in
 14   use by multiple individuals in the home.
 15          14.    Accordingly, on December 17, 2015, Defendants’ voice message was
 16   heard by Plaintiff’s 23-year old son, Kiel Labausa, who consequently learned that a
 17   debt collector was seeking Plaintiff to collect a debt.
 18                                  FIRST CAUSE OF ACTION
 19                                   (Violations of the FDCPA)
 20          15.    Plaintiff repeats, re-alleges, and incorporates by reference all of the
 21   paragraphs above as though fully stated herein.
 22          16.    15 USC §1692c(b) prohibits a debt collector from disclosing to
 23   unauthorized third parties that they are a debt collector attempting to collect a debt
 24   from a consumer.
 25          17.    The Defendant violated 15 USC §1692c(b) by disclosing to a third party,
 26   the Plaintiff’s 23-year old son, Kiel Labausa, that Defendant was a debt collector
 27   attempting to collect an alleged debt from the Plaintiff.
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  1          18.     As a result of Defendant’s neglect and carelessness in leaving a telephone
  2   message on a voice mail accessible to a third party using Plaintiff’s name and debt
  3   collection disclosures, Plaintiff suffered shame and embarrassment and according to 15
  4   USC §1692k(a)(1), Defendant is liable to Plaintiff for damages sustained because of
  5   Defendant’s failure to comply with §1692 et seq. of Title 15 of the United States Code
  6   (the FDCPA) and other violations of the FDCPA.
  7                                SECOND CAUSE OF ACTION
  8                                  (Violations of the RFDCPA)
  9         19.      Plaintiff repeats, re-alleges, and incorporates by reference all of the
 10   paragraphs above as though fully stated herein.
 11         20.      Plaintiff brings the second claim for relief against Defendant, GLOBAL
 12   CREDIT, only under the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”),
 13   California Civil Code §§ 1788-1788.33.
 14         21.      Plaintiff is a “debtor” as that term is defined by the RFDCPA, Cal. Civil
 15   Code §1788.2(h).
 16         22.      Defendant, GLOBAL CREDIT, is a “debt collector” as that term is defined
 17   by the RFDCPA, Cal. Civil Code §1788.2(c).
 18         23.      The financial obligation owed by Plaintiff is a “consumer debt” as that
 19   term is defined by the RFDCPA, Cal. Civil Code §1788.2(f).
 20         24.      Defendant has violated the RFDCPA. The violations include, but are not
 21   limited to, the following:
 22                  a.     Disclosing to unauthorized third parties that they are a debt
 23   collector attempting to collect a debt from a consumer, pursuant to Cal. Civil Code
 24   §1788.12(b).
 25         25.      GLOBAL CREDIT’S acts as described above were done willfully and
 26   knowingly with the purpose of coercing Plaintiff to pay the debt, within the meaning
 27   of Cal. Civil §1788.30(b).
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  1         26.     As a result of GLOBAL CREDIT’s violations of the RFDCPA, Plaintiff is
  2   entitled to an award of actual damages in an amount to be determined at trial,
  3   pursuant to Cal. Civil Code §1788.30(a).
  4         27.     As a result of GLOBAL CREDIT’s willful and knowing violations of the
  5   RFDCPA, Plaintiff is entitled to an award of a statutory penalty in an amount not less
  6   than one Hundred dollars ($100.00) nor greater than one thousand dollars ($1,000.00),
  7   pursuant to Cal. Civil Code §1788.30(b).
  8         28.     As a result of GLOBAL CREDIT’s violations of the RFDCPA, Plaintiff is
  9   entitled to an award of statutory damages in an amount not exceeding $1,000.00
 10   pursuant to Cal. Civil Code §1788.17.
 11         29.     As a result of GLOBAL CREDIT’s violations of the RFDCPA, Plaintiff is
 12   entitled to an award of reasonable attorney’s fees and costs pursuant to Cal. Civil Code
 13   §§ 1788.30(c) and 1788.17.
 14         30.     Pursuant to Cal. Civil Code §1788.32, the remedies provided under the
 15   RFDCPA are intended to be cumulative and in addition to any other procedures, rights
 16   or remedies that the Plaintiff may have under any other provision of law.
 17                                DEMAND FOR TRIAL BY JURY
 18          31.    Plaintiff hereby respectfully requests a trial by jury for all claims and
 19   issues in its Complaint to which it is or may be entitled to a jury trial.
 20                                     PRAYER FOR RELIEF
 21          WHEREFORE, Plaintiff requests that this court:
 22                 a.     Assume jurisdiction in this proceeding;
 23                 b.     Declare that Defendant violated the Fair Debt Collection Practices
 24                        Act, 15 U.S.C. §1692k(a)(1);
 25                 c.     Declare that GLOBAL CREDIT violated the Rosenthal Fair Debt
 26                        Collection Practices Act, Cal. Civil Code §§ 1788.17 and 1788.30;
 27
 28

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  1                d.     Award Plaintiff actual damages in an amount to be determined at
  2                       trial, pursuant to 15 U.S.C. §1692k(a)(1) and Cal. Civil Code
  3                       §1788.30(a);
  4                e.     Award Plaintiff statutory damages in an amount not exceeding
  5                       $1,000.00, pursuant to 15 U.S.C. §1692d(a)(2)(A);
  6                f.     Award Plaintiff a statutory penalty in an amount not less than
  7                       $100.00 or greater than $1,000.00, pursuant to Cal. Civil Code
  8                       §1788.30(b);
  9                g.     Award Plaintiff statutory damages in an amount not exceeding
 10                       $1,000.00, pursuant to Cal. Civil Code §1788.17;
 11                h.     Award Plaintiff the costs of this action and reasonable attorney’s
 12                       fees pursuant to 15 U.S.C. §1692k(a)(3) and Cal. Civil Code §§
 13                       1788.17 and 1788.30(c);
 14                i.     Award Plaintiff such other and further relief as may be just and
 15                       proper.
 16
 17   Dated: April 27, 2016                   Respectfully submitted,
 18
 19                                           /s/ Therese S. Harris____________________
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 20                                           Of Counsel
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  1   To:   GLOBAL CREDIT & COLLECTION CORPORATION
            300 International Drive,
  2
            Postal Mailbox 10015, Suite 100
  3         Williamsville, NY 14221
  4
            (Via Prescribed Service)
  5
  6         Clerk of the Court
            Central District of California
  7
            United States Courthouse
  8         312 North Spring Street
  9         Los Angeles, CA 90012-4701
            Telephone: (213) 894-1565
 10
 11         (Via electronic filing)
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